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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ADAMA SOW, DAVID JAKLEVIC, ALEXANDRA DE
MUCHA PINO, OSCAR RIOS, BARBARA ROSS,
MATTHEW BREDDER, SABRINA ZURKUHLEN,
MARIA SALAZAR, DARA PLUCHINO, and SAVITRI
DURKEE, on behalf of themselves and others similarly
situated,

                                       Plaintiffs,
                                                                  21-CV-533 (CM) (GWG)
                   - against -

CITY OF NEW YORK; MAYOR BILL DE BLASIO;
NEW YORK CITY POLICE DEPARTMENT
COMMISSIONER DERMOT SHEA; NEW YORK CITY
POLICE DEPARTMENT CHIEF OF DEPARTMENT
TERENCE MONAHAN; NYPD DETECTIVE EDWARD
CARRASCO (SHIELD NO. 1567); NYPD OFFICER
TALHA AHMAD (SHIELD NO. 21358); NYPD
OFFICER KEVIN AGRO (SHIELD NO. 8054); and
NYPD OFFICERS JOHN and JANE DOES # 1- 40,

                                       Defendants.


       PLEASE TAKE NOTICE that upon the declaration of Jonathan C. Moore of Beldock

Levine & Hoffman, LLP, sworn to on July 19, 2023, and the accompanying Memorandum of

Law, the Plaintiffs respectfully move this Court located at 500 Pearl Street, New York, NY

10007 at a time of the Court’s convenience for an Order:

        (1) preliminarily approving the proposed settlement terms as reflected in the

             parties’ Stipulation of Settlement and Order;

        (2) conditionally certifying the proposed class for settlement purposes pursuant to

             Fed. R. Civ. P. 23(c) and 23(e);

        (3) appointing Beldock Levine & Hoffman LLP, Cohen Green PLLC, Gideon Orion
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    Oliver, Esq., Wylie Stecklow PLLC, and Masai Lord, Esq. as Class Counsel;

(4) approving the proposed class settlement notice procedure as reflected in the

    parties’ Stipulation of Settlement and Order;

(5) appointing Rust Consulting, Inc. as Class Administrator; and

(6) granting any other relief the Court deems just and proper.

PLEASE TAKE FURTHER NOTICE that Defendants do not oppose this motion.




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Dated: July 19, 2023
       New York, New York

BELDOCK LEVINE & HOFFMAN LLP               GIDEON ORION OLIVER



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